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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re:                                                  Chapter 11

 BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
 DELAWARE Boy Scouts, LLC,
                                                         Jointly Administered
                               Debtors.
                                                         Ref. Docket No. 1161


      OBJECTION OF CENTURY AND OTHER LISTED INSURERS TO THE MOTION
        FILED BY THE ENTITY CALLING ITSELF THE COALITION OF ABUSED
            SCOUTS FOR JUSTICE TO PARTICIPATE IN THE MEDIATION

          Century and the other insurers listed in the signature block below respectfully object to

the Motion of the Coalition of Abused Scouts for Justice to Participate in the Mediation (Aug.

26, 2020) [D.I. 1161] (the “Motion”). Century joins in the arguments advanced by Hartford in

its objection [D.I. 1222] to the Motion.

          Century adds that the Coalition’s participation in the mediation, and access to highly

confidential information obtained through its participation, raises other serious

concerns. Without basic identifying information for the claimants and the formation/retention

agreements required by Rule 2019, there is no way to definitively flush out conflicts. It is

known, however, that the Coalition’s counsel, Blank Rome LLP, currently represents, and in the

recent past has represented, multiple Catholic dioceses in bankruptcy and coverage actions

related to alleged abuse claims.[1] In this case, claimants assert that Catholic dioceses are BSA


[1]
        See Archdiocese of New York v. Ins. Co. of N. Am., No. 653772/2019 (N.Y. Sup. Ct. filed
      June 28, 2019) (August 26, 2020 Panchok-Berry Decl. Ex. 19 [D.I. 1166]); see also
      Application to Employ Blank Rome LLP as Special Insurance Counsel for the Debtor and
      Debtor-in-Possession, Roman Catholic Archdiocese of Agana, No. 19-00010 (Bankr. D.
      Guam Jan. 17, 2019) (Dkt. No. 39) (Panchok-Berry Decl. Ex. 20 [D.I. 1166]); In re Diocese
      of Duluth, 565 B.R. 914, 915 (2017); Application to Employ Blank Rome as Special
      Insurance Counsel for the Debtor and Debtor-in-Possession, In re Roman Catholic Church of


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sponsoring organizations against whom they have or may have claims which are or have been

represented by Blank Rome. Without the list of claimants Blank Rome claims to represent here,

there is no way to assess the full extent to which Blank Rome is concurrently representing

Catholic dioceses in which Blank Rome’s claimant clients here are asserting claims against the

Catholic dioceses that are concurrently Blank Rome’s clients. This kind of concurrent

representation involving tort claimants and defendants has been the subject of at least one Third

Circuit decision.



       Century and Hartford raised the conflict that this duel representation posed in moving to

compel compliance with Rule 2019. The Coalition offered nothing in response. It is not

appropriate to transfer confidential or highly confidential information in this circumstance.




   the Archdiocese of Santa Fe, No. 18-13027-11 (D.N.M. Dec. 31, 2018) (Dkt. 55) (Panchok-
   Berry Decl. Ex. 22 [D.I. 1166]); Ex Parte Application For Order Appointing Blank Rome,
   LLP as Special Insurance Counsel to the Debtor, In re the Diocese of Buffalo, N.Y., No. 20-
   10322 (Bankr. W.D.N.Y. Apr. 22, 2020) (Dkt. 258) (Panchok-Berry Decl. Ex. 23 [D.I.
   1166]). Without the list of claimants, there is no way to assess whether Blank Rome here
   represents claimants who have also filed claims against their clients in those cases.


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Dated: September 2, 2020                    Respectfully Submitted,
       Wilmington, Delaware

                                            By: /s/ Stamatios Stamoulis
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Appendix A




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